                 Case 1:24-mc-00091-JLT Document 1 Filed 07/30/24 Page 1 of 2



 1   PHILLIP A. TALBERT
     United States Attorney
 2   KEVIN C. KHASIGIAN
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700
     Facsimile: (916) 554-2799
 5
     Attorneys for the United States
 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        CASE NO.
12                  Plaintiff,                        STIPULATION AND ORDER EXTENDING TIME
                                                      FOR FILING A COMPLAINT FOR FORFEITURE
13          v.                                        AND/OR TO OBTAIN AN INDICTMENT
                                                      ALLEGING FORFEITURE
14   APPROXIMATELY $9,000.00 IN
     U.S. CURRENCY,
15
                    Defendant.
16

17          It is hereby stipulated by and between the United States of America, and potential claimant

18 Miguel Moreno (“Moreno” or “claimant”), appearing in propria persona, as follows:

19          1.      On or about May 2, 2024, claimant filed a claim in the administrative forfeiture

20 proceedings with the Drug Enforcement Administration (“DEA”) with respect to the Approximately

21 $9,000.00 in U.S. Currency (hereafter “defendant currency”), which was seized on November 8, 2021.

22          3.      The DEA has sent the written notice of intent to forfeit required by 18 U.S.C. §

23 983(a)(1)(A) to all known interested parties. The time has expired for any person to file a claim to the

24 defendant currency under 18 U.S.C. § 983(a)(2)(A)-(E), and no person other than the claimants have filed

25 a claim to the defendant currency as required by law in the administrative forfeiture proceeding.

26          4.      Under 18 U.S.C. § 983(a)(3)(A), the United States is required to file a complaint for

27 forfeiture against the defendant currency and/or to obtain an indictment alleging that the defendant

28 currency is subject to forfeiture within ninety days after a claim has been filed in the administrative
                                                         1
                                                                                Stipulation and Order to Extend Time
                 Case 1:24-mc-00091-JLT Document 1 Filed 07/30/24 Page 2 of 2



 1 forfeiture proceedings, unless the court extends the deadline for good cause shown or by agreement of the

 2 parties. That deadline is July 31, 2024.

 3          5.      As provided in 18 U.S.C. § 983(a)(3)(A), the parties wish by agreement to further extend

 4 to August 30, 2024, the time in which the United States is required to file a civil complaint for forfeiture

 5 against the defendant currency and/or to obtain an indictment alleging that the defendant currency is

 6 subject to forfeiture.

 7          6.      Accordingly, the parties agree that the deadline by which the United States shall be required

 8 to file a complaint for forfeiture against the defendant currency and/or to obtain an indictment alleging that

 9 the defendant currency is subject to forfeiture shall be extended to August 30, 2024.

10 Dated: July __, 2024                                   PHILLIP A. TALBERT
                                                          United States Attorney
11

12
                                                          KEVIN C. KHASIGIAN
13                                                        Assistant U.S. Attorney
14

15 Dated: July 29
               __, 2024
                                                          MIGUEL MORENO
16                                                        Potential Claimant
                                                          Appearing in propria persona
17

18          IT IS SO ORDERED.

19 Dated: ____________
                                                          UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25

26

27

28
                                                          2
                                                                                Stipulation and Order to Extend Time
